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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


DEBORAH DEVENY and                        :
JENNIFER FLANNERY,                        :
Individually and on behalf of all         :
similarly situated persons,               :
                                          :
       Plaintiff,                         :        CIVIL ACTION NO.
                                          :        1:22-cv-2058-LMM
v.                                        :
                                          :
LOVE BUGS PET SITTING, et al.,            :
                                          :
       Defendants.                        :


                            SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the Court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules

of Civil Procedure and the Local Rules of this Court. The Court has made no

modifications.



      IT IS SO ORDERED this 20th day of July, 2022.




                                       _____________________________
                                       Leigh Martin May
                                       United States District Judge
